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                   Exhibit 1




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            Case3:24-cv-00045-MMD-CSD
                 3:24-cv-00045-MMD-CSD Document
                                        Document133-1
                                                 131 Filed
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AO450 (NVD Rev. 7/31/24) Judgment in a Civil Case




                                   UNITED STATES DISTRICT COURT
                                                    DISTRICT OF NEVADA


Michael Erwine
                                                          JUDGMENT IN A CIVIL CASE
                                 Plaintiff,
         v.                                               Case Number: 3:24-cv-00045-MMD-CSD
United States of America et al


                                 Defendant.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
Defendants Zachary Westbrook, John Leonard, and Michel Halls motion for certification and entry of
final judgment (ECF No. 126 ) is granted.

IT IS FURTHER ORDERED that the Court recognizes Defendant Gene M. Burkes joinder (ECF No.
127 ) of Washoe Tribe Defendants' motion for entry of final judgment.

IT IS FURTHER ORDERED pursuant to ECF No. 129 Order, judgment is hereby entered in favor of the
defendants, Zachary Westbrook, John Leonard, Michel Hall, and Gene M. Burke and against plaintiff
Michael Erwine.



         4/23/2025
         ____________________                                    DEBRA K. KEMPI
         Date                                                   Clerk



                                                                 /s/ GA
                                                                Deputy Clerk
